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                         EXHIBIT J
   Case 2:11-cr-20468-AJT-MKM ECF No. 1713-9, PageID.22083 Filed 10/08/21 Page 2 of 5
 BF-A0714
 APR 10                                                                                                             U.S. DEPARTMENT OF JUSTICE
 NOTICE OF RELEASE AND ARRIVAL                                                                                     FEDERAL BUREAU OF PRISONS

  Inmate Name                                                          Reg No.: 46049-039                                 lnslitution!Address
  PATEL, BABUBHAI                .                                                                                         CHERRY STREET SERVICES, INC
                                                                       FBI No.: 130013EB9                                  8333 TOWNSEND, DETROIT, MI.
                                                                                   073570903                               48213
                                                                    {Misc No. l
  Release Date                                                                    Release Method

  02/08/2026                                                                       GCT REL

  Public Law Days                        Supervision to follow release: (If yes, advise inmate of Obligation to Report for Supervision)

                                                     Lves                 (   3           Years                  Months)

                                                     --No


                                                             RELEASED TO: (Check one)

                            --- Community                                                                                Detainer
                                                                                   Detaining Agency :
  Transportation arranged to :
                                        (City and State)

  Method of transportation :
                           (Name of common carrier or other)                       Agency Address:

  Date of expected arrival at residence :


                                                           SUPERVISION JURISDICTION(S)
                       Sentencing District                                              District of Residence (for relocation cases)
        Chief!Director: Antony Merolla                                                    Chief/Director:
  Supervision Agency: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                               Supervision Agency: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 District: Eastern Michigan                                                       District:
              Address: 231 W Lafayette Blvd                                                     Address:
                         Detroit, MI 48226                                                                    ----------------
                 Phone: (                                                                          Phone: (

 Address of proposed residence:




                                                                         DNA STATUS
  ONA sample required:                                     If YES date sample taken                              DNA Number

       X         Yes        -No                            0-8/20/2011                                           MIL03911


Obligation to Report for Supervision: If you were sentenced to, or otherwise required to serve, a term of supervision
this term begins immediately upon your discharge from imprisonment, and you aredirected to report for supervision within 72
hours. If you are released from a detaining authority, you shall report for suparvieion within 72 hours afll:!1 your release by the
detaining authority. If you can not report for supervision in the district of your approved residence within 72 hours, you must report
to the nearest U.S. Probation Office for instruction. Failure to obey the reporting requirements described above will constitute a
violation of release conditions.

                                                                           Inmate's Signature {file copy only)




Distribution:                        ln_ma_te Centra_l File (Section 5), Inmate, Chief Supervision Officer in Sentencing District, Chief Supervision Officer in
                                     D1stnct of Residence, and U.S. Parole Commission (if applicable)


PDF                                                               Prescribed by P5800                              This form replaces BP-5714 dtd FEB 02
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                                                                                                                           Sequence: 149070
                                      Conditions of Furlough - Inmate's Copy
     1.       I will not violate the laws of any jurisdiction (federal, state, or local). I understand that I am
              subject to prosecution for escape if I fail to return to the institution at the designated time.
     2.       I will not leave the area of my furlough without permission, with exception of traveling to the furlough
--            destination, and returning to the institution.
     3.      Whi le on fur lough s t a t us, I understand t ha t I remain in t he custo dy of the O.S. At tor ney General.             I
             a gree to conduc t mys el f i n a manne r n ot to bring discredit to mys elf or to the Bureau o f Pri sons.               I
             understand t hat I am subject to arr est and/or institution cU.scipll.n.ary action fo r v i olating any
             condition (s J of my furlou gh.
     4.       I will not purchase, possess, use, consume, or administer any narcotic drugs, marijuana, intoxicants in
              any form, nor will I frequent any place where such articles are unlawfully sold, dispensed, used, or
              given away.
     5.      I will not use any medication that is not pres cribed and g iven to me b_y the inst itut i on me dical
             department f or us e or p res cribed by a l i cens ed p hysi c ian whi le I am on f urlough . I wi l l n ot h ave any
             medical/dent al/s urgi ca l / ps y chi atric t r e atment wi th out t h e writt en p e:i:mission o f staff , e xcep c where an
             emergency ar ises and nece s s itates su ch t r e atment . I wi l l noti£y ~nstitut i on s t a f f o f any pres cribed
             medication o r t reatmen t re ceived in the community upon my return to the institution .
     6.       I will not have in my possession any firearm or dangerous weapon.
     7.       I will not get married, sign any legal papers, contracts, loan applications, or conduct any business
              without the written permission of staff.
     8.       I will not associate with persons having a criminal record or with those persons who I know are engaged
              in i -llegal occupations.
     9.       I agree to contact the institution (or Dnited States Probation Officer) in the event of arrest, or any
              other serious difficulty or illness .
     10 .     I will not drive a motor vehicle without the written permission of s taff . I und e r s tand that I must have
              a valid driver ' s license and sufficient insurance to meet any applicab l e financia l r esp onsibility laws.
     11.      I wil l not re t urn from furlo ugh with any article I di d no t take out with me (for example, clothing,
              jewelry, or b oo ks) ·. I unders t and that I may be thoroughl y searched and g iven a urina l ysis and/or
              breathalyzer a nd/ or othe r c omparable tes ts upoo my return to the institut ion.             I    understand that I will
              be held ac count ab le f or t h e results of the search and te.st (s).
     12.      rt has been determine d t ha t consumpt i on of poppy seeds may cause a positive drug test which may result in
              discip l inary act ion . As a c ond ition of my participation in community programs, I will not consume any
              poppy s eeds or i t ems c ont a ini ng poppy seeds.
     13.      Special Instructions:




     PDF                                                     Prescribed by PS 5280                                Replaces BP-291 of SEPT 1999




     FILE IN SECTION 5 UNLESS APPROPRIATE FOR PRIVACY FOLDER
                                                                                                             SECTION 5
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                                                                                                                                         Sequence: 149070




                                                                  Inmate's Photo
                                                                 Conditions of Furlough
(a)    An imnate who violates the conditions of a furlough may be considered an escapee under 18
          u.s.c. § 4082 or 18 U.S.C. S 751, and may be subject to =iminal prosecution and institution
           disciplinary action.                              .
(bl    A fur l ough will only be approved i~ an ~runate agrees to the following condit i~ns and
           understands that, while on furlough, he/she:
           (1)  Remains in the leg.a l cus tody of the CJ.S. Attorney General, in service of a term of
                imorisonment;
           (2) Is· subject to prosecution for esca11e if he/she fails t:o ret:urn t:o Che institution at
                the designa.ced time;
           (3) rs subject to .institution disciplimu:y action, arrest, and criminal prosecution for
                violating any cond.itions(s) of the furlough;
           (4) May be thoroughly searched and given a .urinalysis, breathalyzer, and other comparable
                test, during the furlough or upon retw::n to the institution, and must pre-authorize the
                cost of such test(s) if the inmate or family members are paying the other costs 0£ the
                furlough. The .inmate must pre-authorize all testing £ee(s J to be withdrawn directly
                from his/her i nmate deposit fund account;
           (5) Must contact the institution (or United States Frobation Officer) in the event of
                arrest, or any other serious difficulty or ill..ness; and
           (6) Must comply with any other special instructions given by the institut:ion.
                  Special Instructions:




               It has been determined that consumption of poppy seeds may cause a positive drug test
               which may res ult in discipl.inary action. As a condition of my participation in
               community programs, I will not consume any poppy seeds or items containing poppy seeds.
                (Note: Additional conditions may be added to Special Instructions as
                 war_ranted) .
tel    While on furlough, the inmate must not:
          (1)  Vlolat~ the laws of any jurisdiction (federal, s tate, or local);
          (2) Leave the area of hls/her fw:l.ough without per,mi_ssion, except for traveling to the
               furlougn destination, and retu_'"Iling to the i ns titution;
          (3) Purchase, sell, possess, use, consume, or administer any narcotic drugs, marijuana,
               alcoho.l, or intoxicants in any form, o r frequent any place where such articles are
               unlawfully sold, dispensed, used, or g iven away;
          (4) 0se medication that is not prescribed and given to the inmate by the institution
               medical depa.rtment or a licensed Physician;
          (5) Have any med.ical/dental/surgical(psychiatric treatment without staff's written
               penn.ission, unless there i.s an emergency, Upon return to the inst itution, the inmate
               must nocify institution staf£ if he/she received any prescribed medication or treatment
               in the community for an emergenc_y;
          (6 ) Possess any fireann or other dangerous weapon;
          (71 Get married, sign any legal papers, contracts, loan applications, or conduct any
               business without staff's written permission
          (8) Associate with pe:rsons having a criminal record or with persons who the inmate knows to
               be engaged in illegal activities without staff's written permission;
          (9) Driv7 a motor vehicle without staff's w~itte7:1 permi~sion, which can only be obtained if
               the inmate has proof of a . currently valid drivers license and proof of appropriate
               insu=nce; or
        (10) Return from furlo ugh with anything the inmate did not take out with him/her (for
               example , clothing, jewelry, or books).
I have read, or had *e's~ to mlT; aiiJ M~rstand the above conditions concerning my furlough and agree to abide
by them. .
II'.mate's Signature:
                            it~~fu3i%11Ar-
                                      '
                                                                   02                                     -
                                                                                                                          Reg. No.: 46049-039 Date: 04/10/2020
Signature/Fr inted N~ am
                       =e,...,,o"f,....,S""t:"'a±=r=-~"'l~:i~;;;ii
                                                             =e~s~s'"':, -~S'"e' e"'""S"'"1gn=_,-a~t=u~re,_Pa=g=e~,~B~P~-Au29 IIS

Record Copy - Inmate Central File; Copy - Control Center, Chief Correctional Services Supervisor, ' Correctional
Systems Department, IOil'ate Use on Furlough
                                                                .IU'IJ.J .t<.l!,1.,.;U.t<.LJ CD FRM
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                                           t
                                                                                                        FEDERAL Bt:JREAtJ OF PR:CSONS
    Inmate   •·s   Name                                    Register No.                       Institution(address and phone number)
                                                                                              TERRE HAUTE FCI
    PATEL, BABUBHAI                                         46049-039                         4200 BUREAU ROAD NORTH
                                                                                              TERRE HAUTE, IN 47808            •
                                                                                                (812)238-1531

I                                                                 APPLICATION                                                             I
    Purpose of Visit
    Transfer to Residential Reentry
                                                  l Sentry Assignment
                                                    FURL TRANS
                                                                           Date/Time of Departure
                                                                            04/24/2020 09:00
                                                                                                                I   Date/Time of Return
                                                                                                                    N/A

    Furlough Address (include name of responsible party if applicable) :
    CHERRY STREET SERVICES, INC, 8333 TOWNSEND, DETROIT, MI. 48213

 Telephone No.            (Including Area Code) : 313-579-5824

    Point of Contact for            Method        of Transportation        Detainer/Pending                     Verified by (CSM Staff)
    Emergency                       POV                                    Charges
    TERRE HAUTE FCI                                                            __Yes     _LNo                   Meneely, M.

    NOTE TO APPLICANT: You are reminded that should any unusual circumstances arise during the period of
    your visit, you should notify the institution immediately at telephone; (812) 238-1531

I                                                                UNDERSTANDING
                                                                                                                                          I
 I understand that if approved, I am authorized to be only in the area of the destination shown above
 and at ordinary stopovers or points on a direct route to or from that destination.            I understand that
 my furlough only extends the limits of my confinement and that I remain in the custody of the Attorney
 General of the United States.    If I fail to remain within the extended limits of this confinement, it
 shall be deemed as escape from the custody of the Attorney General., punishable as provided in Section
 751 of Title 18, Onited States Code.    I understand that I may be thoroughly s earched upon my return to
 the institution and that I will be held responsible for · any item of contraband or illicit material that
 is found.   I have read or had read to me, and I understand that the foregoing conditions govern my
 furlough, and will abide by them.    I have read or had read to me, and I understand the CONDITIONS OF
 FURLOUGH as set forth on the reverse of this form.                    See Signature Page, BP-A0291IS
                   See Signature Page, BP-A0291IS                         PATEL, BABUBHAI
                               Witness                                                          Signature of Applicant
    Unit Secretary                                                        04/10/2020
                                 Title                                                                    Date Signed

I                                                           ADMIN'ISTRATIVE ACTION
                                                                                                                                          I
    Information Verified by           c.       Purdue                                        Title Case Manager

    Name Of USPO Notified Anthony Merolla                                                    Date of Not·i fication 04/10/2020

    Does OSPO Have Any Objections to Furlough?                  (If so, explain)

I                                                                     APPROVAL                                                            I
    Approval for the above named Inmate to leave the                       As CMC,  I have reviewed the Request for Activity
    Institution on a furlough as outlined is hereby                         Clearance ('!04) and the SENTRY CIM Clearance and
    granted in accordance with P.L. 93-209 and the BOP                      Separatee Data and I recommend the inmate be
    Furlough Program Statement.   The period of                             approved to participate in this furlough.
    furlough is
    from 04/24/2020 09:00          to 04 / 24/2020 16:30                   [Z]Yes   □ No   Signature of CMC Fortune, Lynn A.

                                                                    certifies CIMS Clearance
 Chief Executive Officer (Name & Date) - Approval and signature
IZ]App roval □ D i s appro va l Lammer, Brian P, Warden, 04/13/2020
 Reason(s) for di s a ppx ova l:




                                                                        RECORD

    Date/Time Released: 04/24/2020 09:00
                                                                           rDate/Time Returned: N/A


     Tra·vel Schedule :
                                       4-24-20 at 9:00 am . Report to the RRC no later than ·
     Depart FCC Terre Haute via POV on
     Patel, Son
                                                                                                                          .
                                                                                                                          G



                                                                                                                          I
                                                                                                                          '
